Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 1 of 18 Page ID #:260



 1 BILAL A. ESSAYLI (Sate Bar No. 273441)
   D. ANDREW BROWN (State Bar No. 273430)
 2 ESSAYLI & BROWN LLP
   100 Bayview Circle, Suite 100
 3 Newport Beach, California 92660
   Telephone: 949.508.2980
 4 Facsimile: 949.508.2981
 5 Attorneys for Defendant
     ABDALLAH OSSEILY
 6
 7
 8
 9                             UNITED STATES DISTRICT COURT

10                            CENTRAL DISTRICT OF CALIFORNIA

11
12 UNITED STATES OF AMERICA                     Case No. 19-CR-00117-JAK

13               Plaintiff,                     DEFENDANT’S REPLY TO
                                                GOVERNMENT’S OPPOSITION TO
14        vs.                                   MOTION TO DISCLOSE FISA-
                                                RELATED MATERIAL
15 ABDALLAH OSSEILY
16               Defendant.

17
18
19
20
21
22
23
24
25
26
27
28


                DEFENDANT’S REPLY TO GOVERNMENT’S OPPOSITION TO FISA DISCLOSURE
Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 2 of 18 Page ID #:261



 1 I.       INTRODUCTION

 2          The government attempts to sanitize this case, brought by the National Security Division,

 3 of any nexuses to the national security tools of the government. There is little doubt that defendant
 4 Abdallah Osseily was subject to surveillance under the Foreign Intelligence Surveillance Act
 5 (“FISA”). The government does not deny it. There is also little doubt that information developed
 6 through the National Security Division about defendant formed the basis for the present
 7 prosecution. The government admitted to such at the last hearing before this Court.
 8          The government’s arguments that FISA evidence is not relevant to this case are

 9 disingenuous. As discussed below, the government has already produced what is presumably
10 FISA evidence to defendant under the Court’s protective order. Defendant is an “aggrieved
11 person” as defined by FISA under 50 U.S.C. § 1801(k) as he was subject to electronic surveillance
12 by the government. Defendant has a right to bring his motion for disclosure under 50 U.S.C.
13 § 1806(f), whereby Congress provided that a motion may be brought by an “aggrieved person . . .
14 before any court . . . to discover or obtain applications or orders or other materials relating to
15 electronic surveillance or to discover, obtain, or suppress evidence or information obtained or
16 derived from electronic surveillance under this FISA.” Despite the government’s arguments
17 otherwise, there is no requirement that defendant receive formal “notice” of surveillance prior to
18 bringing his motion.
19          Although the government claims it will not use any evidence “derived” from FISA at trial,

20 the Court need not and should not accept that claim at face-value. As the Supreme Court has made
21 clear, the question of whether the government’s evidence is tainted is one for the Court to decide,
22 after an adversarial proceeding. Alderman v. United States, 394 U.S. 165 (1969). Indeed, the
23 government has a track record of making self-serving claims that its evidence is not tainted in
24 order to prevent defendants from challenging novel and controversial forms of surveillance.1 It is
25
26
            1
            See Charlie Savage, Federal Prosecutors, in a Policy Shift, Cite Warrantless Wiretaps as
27
   Evidence, N.Y. Times, Oct. 26, 2013, https://www.nytimes.com/2013/10/27/us/federal-prosecutors-
28 in-a-policy-shift-cite-warrantless-wiretaps-as-evidence.html.
                                                       2
                  DEFENDANT’S REPLY TO GOVERNMENT’S OPPOSITION TO FISA DISCLOSURE
Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 3 of 18 Page ID #:262



 1 clear—based on the discovery already provided by the government—that FISA material is part of
 2 this case. Given that threshold fact, the FISA statute provides the roadmap for how the Court
 3 should proceed: it should require the government to submit the FISA application(s), order(s), and
 4 materials to the Court for a determination of the lawfulness of that surveillance. 50 U.S.C. §
 5 1806(f). In the course of that review, the Court should order disclosure of the FISA materials to
 6 the defense because disclosure here is “necessary to make an accurate determination of legality.”
 7 Id. If the surveillance is found unlawful, the Court should then determine what evidence requires
 8 suppression, just as it would in any other case. Id. § 1806(g); United States v. Belfield, 692 F.2d
 9 141, 146 (D.C. Cir. 1982).
10 II.       THE GOVERNMENT HAS PRODUCED FISA MATERIAL IN THIS CASE

11           Despite the government’s suggestion otherwise, defendant can establish that FISA material

12 was obtained and relied on by the government in the present case. On September 25, 2019, the
13 government obtained a protective order from the Court to produce what it considered sensitive
14 materials.2 (Dkt. 26.) The government subsequently produced to defendant evidence confirming
15 that defendant was subject to electronic surveillance by the government. The evidence contained
16 surreptitious recordings of defendant that could have only been obtained in one of two manners:
17 (1) through a Title III wiretap order; or (2) through a FISA order.
18           The government has not produced any wiretap applications or orders in this case, which

19 would be required if the government had obtained such an order against defendant. In fact, the
20 government has not provided any orders in this case authorizing electronic surveillance against
21 defendant. As a result, the only possible explanation is that the government obtained a FISA order
22 to surveil defendant, and it has not produced the FISA application or order.
23           It is also self-evident that the FISA evidence produced under the protective order is

24 relevant to this case. The government produced the sensitive materials while the parties were
25
26
             2
27           The protective order prohibits counsel from divulging the contents of the protected information, but
   does not otherwise prohibit counsel from discussing the general nature of the protected information. (Dkt.
28 25, ¶ h.)
                                                          3
                   DEFENDANT’S REPLY TO GOVERNMENT’S OPPOSITION TO FISA DISCLOSURE
Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 4 of 18 Page ID #:263



 1 engaged in plea negotiations, and presumably believed the evidence would be relevant to those
 2 discussions. If the evidence had no relevance, or if the government had no intent of using the
 3 evidence against defendant at trial, then the government would have had no reason to seek the
 4 protective order or to produce the sensitive materials.
 5           A.      Defendant Is An “Aggrieved Person” As Defined By FISA And The Statute

 6                   Permits Him To Seek Disclosure And Suppression

 7           The government argues in its opposition that defendant may only seek disclosure or

 8 suppression of FISA information if the government provides official notice under 50 U.S.C.
 9 § 1806(c) of its intent to use FISA-derived information in court. (Gov’t Opp. at 2.) The
10 government, however, ignores the plain language of the statute. Section 1806(f) (emphasis added)
11 provides:
12           (f) In camera and ex parte review by district court. Whenever a court or other
             authority is notified pursuant to subsection (c) or (d), or whenever a motion is made
13           pursuant to subsection (e), or whenever any motion or request is made by an
             aggrieved person pursuant to any other statute or rule of the United States of
14           any State before any court or other authority of the United States or any state
             to discover or obtain applications or orders or other materials relating to
15           electronic surveillance or to discover, obtain, or suppress evidence or
             information obtained or derived from electronic surveillance under this Act, the
16           United States district court or, where the motion is made before another authority,
             the United States district court in the same district as the authority, shall,
17           notwithstanding any other law, if the Attorney General files an affidavit under oath
             that disclosure or an adversary hearing would harm the national security of the United
18           States, review in camera and ex parte the application, order, and such other materials
             relating to the surveillance as may be necessary to determine whether the surveillance
19           of the aggrieved person was lawfully authorized and conducted. In making this
             determination, the court may disclose to the aggrieved person, under appropriate
20           security procedures and protective orders, portions of the application, order, or
             other materials relating to the surveillance only where such disclosure is
21           necessary to make an accurate determination of the legality of the surveillance.

22           FISA defines an “aggrieved person” as “a person who is the target of an electronic

23 surveillance or any other person whose communications or activities were subject to electronic
24 surveillance.” 50 U.S.C. § 1801(k). 3 There is no doubt that defendant’s communications were
25
26           3
             The government argues, incorrectly, that an “aggrieved person” is one who receives notice that the
27 government intends to use FISA information against him or her in a criminal proceeding. (See Gov’t Opp.
   at 2). The statutory definition for an “aggrieved person” contains no such requirement. See 50 U.S.C.
28 § 1801(k).
                                                         4
                   DEFENDANT’S REPLY TO GOVERNMENT’S OPPOSITION TO FISA DISCLOSURE
Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 5 of 18 Page ID #:264



 1 subject to electronic surveillance based on the evidence the government has already produced.
 2          There is no requirement within FISA, or more specifically 50 U.S.C. § 1806(f), that

 3 requires an aggrieved person to have been provided with formal notice by the government before
 4 seeking judicial review. Rather, the statute recognizes that an aggrieved person may file a motion
 5 in a district court to discover or obtain FISA applications and orders “pursuant to any other statute
 6 or rule of the United States,” and that alone is enough to trigger the judicial review procedures
 7 Congress provided in section 1806(f). There are no other qualifiers or conditions on when an
 8 aggrieved person may file his motion in district court. Defendant filed his motion under section
 9 1806(f) and cited authority for disclosure under Rule 16, Brady v. Maryland and its related cases,
10 the Fourth Amendment, and the Fifth Amendment.
11          If the filing of a motion were dependent on the government providing notice, as the

12 government suggests, then the government could engage in intrusive surveillance against United
13 States persons and then avoid scrutiny simply by withholding notice—based on narrow and
14 unaccountable claims that its evidence was not tainted by the surveillance. In one of the first FISA
15 cases to reach the courts of appeals, the D.C. Circuit considered exactly the scenario presented by
16 this case and rejected the government’s position:
17          [E]ven when the Government has purported not to be offering any evidence obtained
            or derived from the electronic surveillance, a criminal defendant may claim that he
18          has been the victim of an illegal surveillance and seek discovery of the logs of the
            overhears to ensure that no fruits thereof are being used against him. In either event,
19          the Government may forestall the defendant’s suppression or discovery motions by
20          filing a petition with the United States District Court in the area where the criminal
            trial is taking place asking for a determination of the legality of the surveillance.
21
     Belfield, 692 F.2d at 146 (citing Alderman v. United States, 394 U.S. 165 (1969)). Congress enacted
22
     FISA to ensure that the executive branch’s surveillance activities were subject to court review,
23
     especially in criminal cases. Nothing in FISA gives the government the unilateral power to dictate
24
     who may or may not challenge FISA surveillance.
25
26
27
28
                                                       5
                  DEFENDANT’S REPLY TO GOVERNMENT’S OPPOSITION TO FISA DISCLOSURE
Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 6 of 18 Page ID #:265



 1           B.     Due Process Does Not Permit The Government To Unilaterally Determine

 2                  Whether Its Evidence Is Derived From Secret Surveillance

 3           Due process does not permit the government to resolve core Fourth Amendment

 4 suppression issues simply by claiming that its evidence is not “derived from” FISA. As the
 5 Supreme Court has made clear, Fourth Amendment suppression questions are notoriously fact-
 6 specific and complex—and must be resolved through disclosure and adversarial litigation.
 7           In Alderman v. United States, the Supreme Court held that defendants must be permitted to

 8 discover information that may be relevant to whether the government’s evidence is fruit of the
 9 poisonous tree, because only an adversarial process can ensure fair and accurate resolution of this
10 Fourth Amendment issue. 394 U.S. at 168, 180-85. Emphasizing the difficult judgments raised by
11 “cases involving electronic surveillance,” the Court said, “in our view the task is too complex, and
12 the margin for error too great, to rely wholly on the in camera judgment of the trial court.” Id. at
13 182 & n.14. Instead, to avoid leaving the trial court and defendants entirely reliant on the
14 government’s one-sided claims, adversarial proceedings are necessary “to provide the scrutiny
15 which the Fourth Amendment exclusionary rule demands.” Id. at 184; see also Trujillo v. Sullivan,
16 815 F.2d 597, 616 (10th Cir. 1987); Nolan v. United States, 423 F.2d 1031, 1041 (10th Cir. 1969)
17 (“[A]fter alleging the existence of illegal surveillance . . . the defendant was entitled to inspect all
18 recordings and transcripts made of his conversations[.]”).
19           The lesson of Alderman and its progeny is that defendants are entitled to notice of

20 surveillance, despite the government’s unilateral claims that the information is not “relevant,” that
21 an exception to the fruit-of-the-poisonous-tree doctrine should apply, or that its surveillance was
22 lawful. See, e.g., Kolod v. United States, 390 U.S. 136 (1968) (per curiam) (rejecting the
23 government’s unilateral determination that evidence was not derived from challenged surveillance
24 and requiring adversarial proceedings); United States v. Alderisio, 424 F.2d 20, 23 (10th Cir.
25 1970) (district court erred in denying as immaterial defense requests to examine FBI memoranda
26 concerning surveillance of defendant); United States v. Apple, 915 F.2d 899, 910-11 (4th Cir.
27 1990) (district court abused its discretion in addressing an exception to the fruit-of-the-poisonous-
28 tree doctrine before the government adequately addressed alleged surveillance).
                                                        6
                  DEFENDANT’S REPLY TO GOVERNMENT’S OPPOSITION TO FISA DISCLOSURE
Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 7 of 18 Page ID #:266



 1           Here, the government declares in its opposition that no evidence “derived” from FISA will

 2 be used at trial.4 The government believes that this conclusory statement ends the analysis and that
 3 this Court has “no cause to review” any application for a FISA order. (Gov’t Opp. at 5.) The
 4 government’s unilateral determination of the relevance of FISA evidence is the exact methodology
 5 the Supreme Court rejected in Alderman. There are many factors to be considered by this Court,
 6 through adversarial proceedings, including what evidence the government collected, how it was
 7 used by agents, how the government defines the term “derived,” and whether any FISA
 8 information led to the evidence the government now seeks to use at trial.
 9           C.       Self-Suppression Would Not Eliminate The Need To Determine Whether The

10                    Government Engaged In Unlawful Surveillance

11           The government suggests that it can sidestep the inquiry of the lawfulness of its

12 surveillance by self-suppressing any evidence derived from illegal surveillance. While the
13 government’s mootness argument may have merit in other prosecutions, that position does not
14 withstand scrutiny here.
15           In almost every other prosecution, a defendant would have received the affidavit for any

16 warrants obtained against him. A defendant could assess the factual basis for the probable cause
17 statements sworn to by the agents, and challenge the veracity of those statements through a Franks
18 hearing.5 Here, defendant is denied the opportunity to even review the probable cause statement
19 against him alleging that he is a foreign agent. If defendant had a chance to review that probable
20 cause statement, then defendant could determine whether the government submitted any false
21
22           4
              Although the government claims it will not reference national security derived evidence at trial,
23 the government    has left the door open to introducing national security evidence at trial to rebut defense
   arguments. In a recent email with government counsel, the government provided notice that it intends to
24 introduce “testimony and evidence regarding the origins and substance of the FBI’s investigation.” Despite
   repeated requests, the government has not disclosed to the defense what national security evidence it would
25 use at trial. A copy of the government’s email is attached hereto as “Exhibit A.”
             5
26            In Franks v. Delaware, the Supreme Court held that the Fourth Amendment requires an
   evidentiary hearing at the defendant's request on the validity of an affidavit underlying a search warrant
27 "[1] where the defendant makes a substantial preliminary showing that a false statement knowingly and
   intentionally, or with reckless disregard for the truth, was included by the affiant in the warrant affidavit,
28 and [2] if the allegedly false statement is necessary to the finding of probable cause." 438 U.S. at 155-56.
                                                            7
                   DEFENDANT’S REPLY TO GOVERNMENT’S OPPOSITION TO FISA DISCLOSURE
Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 8 of 18 Page ID #:267



 1 information to the Foreign Intelligence Surveillance Court (“FISC”).
 2          The Supreme Court has posited that it has the power to bar conviction of a defendant on

 3 due process grounds if government conduct reaches a "demonstrable level of outrageousness."
 4 Hampton v. United States, 425 U.S. 484, 491-95 (1976). "Outrageous government conduct refers
 5 to behavior of investigators." United States v. Garza-Juarez, 992 F.2d 896, 903 (9th Cir. 1993).
 6 "The government's conduct may warrant a dismissal of the indictment if that conduct is so
 7 excessive, flagrant, scandalous, intolerable and offensive as to violate due process; the trial court
 8 may also dismiss the indictment in the exercise of general supervisory powers." Id. at 904.
 9          Accordingly, if the government engaged in illegal surveillance of defendant, and

10 subsequently used tainted information to form the basis of the present charges, then defendant
11 would certainly have a basis to move for dismissal of the indictment. Suppression of illegally
12 obtained evidence, alone, would be insufficient.
13 III.     DISCLOSURE AND DEFENSE INPUT IS NECESSARY TO MAKE AN

14          ACCURATE DETERMINATION OF THE LEGALITY OF SURVEILLANCE

15          The statute directs district courts to “disclose to the aggrieved person, under appropriate

16 security procedures and protective orders, portions of the application, order, or other materials
17 relating to the surveillance” where such disclosure is necessary to make an accurate determination
18 of the legality of the surveillance. 50 U.S.C. § 1806(f). It is impossible for a court to assess the
19 accuracy of factual allegations in an affidavit without input from the person who was the subject
20 of the surveillance. There is no other way to determine whether the facts presented to the court
21 were truthful, and whether the government’s application included material omissions.
22          Defendant provided several justifications for why disclosure is necessary in his motion. In

23 addition to those reasons previously stated, there is additional concern that inaccurate or
24 deliberately false information about defendant may have been submitted to the FISC. The Office
25 of the Inspector General (“OIG”) for the U.S. Department of Justice issued an alarming report on
26 December 9, 2019, documenting a multitude of misrepresentations made by the FBI in FISA
27
28
                                                       8
                  DEFENDANT’S REPLY TO GOVERNMENT’S OPPOSITION TO FISA DISCLOSURE
Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 9 of 18 Page ID #:268



 1 applications to the FISC (the “IG Report”).6 The misrepresentations were aimed at convincing the
 2 FISC that sufficient probable cause existed to label a particular United States person as a foreign
 3 agent, and to justify the issuance of a FISA surveillance order.
 4          Specifically, the IG Report concluded that “FBI personnel fell short of the requirement in

 5 FBI policy that they ensure that all factual statements in a FISA application are ‘scrupulously
 6 accurate.” IG Report at vii. The OIG identified “multiple instances in which factual assertions
 7 relied upon in the first FISA application were inaccurate, incomplete, or unsupported by
 8 appropriate documentation, based upon information the FBI had in its possession at the time the
 9 application was filed.” Id. One of the most troubling aspect of the report was the discovery that an
10 FBI attorney intentionally provided false information in connection with four applications to the
11 FISC. Id. at 8.
12          Based on the OIG findings, the FISC issued a rare public order calling into question the

13 reliability of every application previously submitted by the FBI. In re Accuracy Concerns
14 Regarding FBI Matters Submitted To The FISC, FISA Ct. No. Misc. 19-02 (Dec. 17, 2019).7 The
15 court emphasized the gravity of the OIG findings and sounded the alarm with respect the integrity
16 of the government’s FISA surveillance as a whole:
17          The FBI’s handling of the [U.S. person’s] applications, as portrayed in the OIG
            report, was antithetical to the heightened duty of candor described above. The
18          frequency with which representations made by FBI personnel turned out to be
            unsupported or contradicted by information in their possession, and with which they
19          withheld information detrimental to their case, calls into question whether
            information contained in other FBI applications is reliable. The FISC expects the
20          government to provide complete and accurate information in every filing with the
            Court. Without it, the FISC cannot properly ensure that the government conducts
21          electronic surveillance for foreign intelligence purposes only when there is a
            sufficient factual basis.
22
23          Id. at 3 (first emphasis added).

24          In addition to the oversight provided by the FISC, Congress also provided for district court

25 review when a defendant who was the subject of FISA surveillance seeks to challenge those
26
27          6
                A public version of the report is available at: https://oig.justice.gov/reports/2019/o20012.pdf.
            7
28              A copy of the FSIC order is attached hereto as “Exhibit B” for reference.

                                                             9
                    DEFENDANT’S REPLY TO GOVERNMENT’S OPPOSITION TO FISA DISCLOSURE
Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 10 of 18 Page ID #:269



  1 intrusive electronic searches, as is the case here.
  2          Defendant is a U.S. person who resided in the United Sates during the time he was subject

  3 to FISA surveillance. Defendant has never been an agent of a foreign power, and the government
  4 has not provided any evidence suggesting otherwise, which is a critical factual showing the
  5 government must make in its FISA application. Given the recent findings by the OIG and the
  6 FISC, defendant has serious concerns that the government may have provided inaccurate or false
  7 information to obtain a FISA order against him. The only way to resolve that question is for this
  8 Court to review the FISA application and order, and to subject the factual basis of the application
  9 to the adversarial process by providing defendant an opportunity to challenge the veracity of the
 10 factual assertions made against him.
 11 IV.      CONCLUSION

 12          Without any trial, or adversarial proceedings, the government has condemned defendant as

 13 a national security risk. It will not tell him why he is a national security risk, or otherwise provide
 14 him an opportunity to clear his name. Instead the government has engaged in scorched earth
 15 tactics to prevent defendant from obtaining citizenship by selectively subjecting him to
 16 prosecution for the slightest perceived offense; in this case the government’s means of choice is
 17 alleged bank fraud. This is not Due Process under the Constitution, and it is fundamentally unfair.
 18          The Constitution does not have a national security exception for Due Process and this

 19 Court should not adopt the government’s request for one. Defendant has the right under the Fourth
 20 and Fifth Amendments, and the FISA statute, to review the probable cause statement made against
 21 him before the Foreign Intelligence Surveillance Court, which formed the basis for the present
 22 case. Accordingly, defendant respectfully requests the disclosure of FISA materials.
 23 DATED: December 2, 2019                      ESSAYLI & BROWN LLP

 24                                              By:    /s/ Bilal A. Essayli
 25                                                    BILAL A. ESSAYLI
                                                       D. ANDREW BROWN
 26
                                                       Attorneys for Defendant
 27                                                    ABDALLAH OSSEILY

 28
                                                          10
                   DEFENDANT’S REPLY TO GOVERNMENT’S OPPOSITION TO FISA DISCLOSURE
Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 11 of 18 Page ID #:270




                   Exhibit “A”
    Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 12 of 18 Page ID #:271


Subject: Re: U.S. v. Osseily - Mo1on in limine
Date: Friday, January 10, 2020 at 9:54:14 AM Paciﬁc Standard Time
From: Bilal A. Essayli
To:      Salick, Annamar1ne (USACAC), Makarewicz, Valerie (USACAC)
CC:      Andrew Brown

Annamar1ne,

I’m confused by your posi1on. The defense has been seeking and li1ga1ng the issue of the origin of the government’s
inves1ga1on since November. The government has refused to produce such evidence. Now you’re telling us that the
government will introduce evidence concerning the na1onal security “origins and substance” of the FBI’s
inves1ga1on at trial to rebut poten1al defense arguments. What would this evidence be? And when does the
government intend to produce it?

We believe that any reference that Mr. Osseily was subject to a na1onal security inves1ga1on by the government at
trial would be irrelevant (as you have not produced any na1onal security evidence), highly prejudicial, and grounds
for mistrial.

We do not intend to disclose our trial strategy to the government, or otherwise reveal our defense theory.

As for your proposed MIL re FISA, that conversa1on is premature. We have a hearing on that issue later this month.
How the court rules will determine the parameters of the trial. We will comply with all rulings of the court.

Happy to further discuss. Please provide clariﬁca1on on the government’s posi1on.

Thank you,

Bilal



From: Salick, Annamar1ne (USACAC) <Annamar1ne.Salick2@usdoj.gov>
Sent: Thursday, January 9, 2020 5:53:15 PM
To: Bilal A. Essayli <bessayli@essaylibrown.com>; Makarewicz, Valerie (USACAC)
<Valerie.Makarewicz@usdoj.gov>
Cc: Andrew Brown <abrown@essaylibrown.com>
Subject: RE: U.S. v. Osseily - Mo1on in limine

Bilal & Andrew,

Thank you for the email.

We do not intend to reference any na1onal security inves1ga1on in our case presenta1on. However, were
you to argue, elicit tes1mony, or present evidence aeemp1ng to suggest that the inves1gators were biased,
the inves1ga1on was not properly predicated, that our oﬃce engaged in a selec1ve or vindic1ve prosecu1on,
or that we were somehow colluding with USCIS to deny your client an immigra1on beneﬁt. Obviously, that
would open the door for the government to refute your unfounded claims by introducing tes1mony and
evidence regarding the origins and substance of the FBI’s inves1ga1on.

Based on your statements in court, we an1cipate li1ga1ng selec1ve prosecu1ons/misconduct mo1ons but
these should be resolved before and aher trial, not in the presence of the jury. I hope we can agree that

                                                                                                                Page 1 of 2
   Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 13 of 18 Page ID #:272

reference to any na1onal security inves1ga1on should not be before the jury in this maeer. Please let me
know if you disagree with this approach so we may ﬁle a mo1on.

While we are discussing mo1ons, we intend to ﬁle a mo1on in limine to preclude you from asking ques1ons,
referencing, or in any way implying that the defendant was the subject of surveillance conducted pursuant to
the Foreign Intelligence Surveillance Act (“FISA”). As you know, the government has aﬃrmed that the present
case is not based on informa1on obtained or derived from FISA and that it will not be introducing evidence
obtained or derived from FISA.

Please let me us know your posi1on.



Annamar1ne




From: Bilal A. Essayli <bessayli@essaylibrown.com>
Sent: Thursday, January 9, 2020 10:04 AM
To: Salick, Annamar1ne (USACAC) <ASalick@usa.doj.gov>; Makarewicz, Valerie (USACAC)
<VMakarewicz@usa.doj.gov>
Cc: Andrew Brown <abrown@essaylibrown.com>
Subject: U.S. v. Osseily - Mo1on in limine

Annamar1ne,

Before we ﬁle any mo1ons, my prac1ce is to confer with counsel to see if we can reach an agreement and
avoid li1ga1on. Would the government agree to keep out any reference to na1onal security during trial?
Speciﬁcally, we would object to any reference in front of the jury that Mr. Osseily was subject to a na1onal
security inves1ga1on, or that this case was charged by the Na1onal Security Division.

Best,

 Bilal A. Essayli | Partner
 Essayli & Brown LLP
 100 Bayview Circle, Suite 100 | Newport Beach, California 92660
 T: 949.508.2982| F: 949.508.2981 |bessayli@essaylibrown.com


THIS ELECTRONIC COMMUNICATION IS PRIVILEGED AND CONFIDENTIAL
IMPORTANT NOTICE TO EMAIL RECIPIENTS: Do not read, copy, or disseminate this communication
unless you are the intended addressee. This email communication contains confidential and/or privileged
information intended only for the addressee. Anyone who receives this email by error should treat it as
confidential and is asked to call the sender at his or her phone number above, or reply by email. This email
transmission may not be secure and may be illegally intercepted. Do not forward or disseminate this email to
any third party. Unauthorized interception of this email is a violation of federal law. Any reliance on the
information contained in this correspondence by someone who has not entered into a fee agreement with Essayli
& Brown LLP is taken at the reader’s own risk. The attorneys of Essayli & Brown LLP are licensed to practice
law ONLY in California and do not intend to give advice to anyone on any legal matter not involving California
law.




                                                                                                           Page 2 of 2
Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 14 of 18 Page ID #:273




                   Exhibit “B”
Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 15 of 18 Page ID #:274
                                                                                               UnitedStatesForeion
                                                                                          IntelligenceSurveillanceCourt


                                                                                                  DEC 17
                                            UNITED STATES

                       FOREIGN INTELLIGENCE SURVEILLANCE COURT                           LeeAnn Flynn Hall, Clerk of Court

                                          WASHINGTON, D . C .




  IN RE ACCURACY CONCERNS REGARDING                                        DocketNo. Misc . 19 - 02

 FBIMATTERS SUBMITTED TO THE FISC



                                                  ORDER


         This order respondsto reports thatpersonnelof the FederalBureau of Investigation(FBI)
 provided false informationto the NationalSecurity Division (NSD ) oftheDepartmentof Justice,
 and withheldmaterialinformation from NSD which was detrimentalto the FBI's case, in
 connection with four applicationsto the Foreign IntelligenceSurveillance Court (FISC) for
 authority to conductelectronic surveillanceof a U . S. citizen named Carter W . Page. When FBI
 personnelmisleadNSD in the ways described above, they equallymislead the FISC.

           In order to appreciate the seriousness of that misconduct and its implications , it is useful
 to understand certain procedural and substantive requirements that apply to the government ' s
 conduct of electronic surveillance for foreign intelligence purposes . Title I of the Foreign
 Intelligence Surveillance Act ( FISA ) , codified as amended at 50 U . S. C . $ 1801- 1813, governs
 such electronic surveillance . It requires the government to apply for and receive an order from
 the FISC approving a proposed electronic surveillance . When deciding whether to grant such an
 application , a FISC judge must determine among other things, whether it provides probable
 cause to believe that the proposed surveillance target is a “ foreign power or an agent            a
 foreign power. See      1805( a ) ( 2 ) ( A ). Those terms are defined by FISA. See   1801( a ) - ( ) . A
 finding of probable cause to believe that a U . S . citizen ( or other United States person as
 defined at Section 1803(i )) is an agent of a foreign power cannot be solely based on activities
 protected by the First Amendment . See       1805( a ) ( 2) ( A ) .




   The government reported to the FISC certain misstatements and omissions in July 2018, see Department
 of Justice Office of Inspector General, Review of Four FISA Applications and Other Aspects of the FBI' s
 Crossfire Hurricane Investigation (Dec. 9 , 2019 , at 167-68, 230 -31(OIG Report ; however, the FISC
 first learned of themisstatements and omissions discussed herein on December 9 , 2019, or, in the case of
 the conduct of the FBIattorney discussed below , from submissionsmade by the government on October
 25, 2019, and November      , 2019.
Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 16 of 18 Page ID #:275




          An electronic surveillance application must            made by a Federal officer in writing upon
  oath or affirmation . ”      1804 (a ).   When it is the FBIthat seeks to conduct the surveillance , the
   Federal officer who makes the application is an FBIagent, who swears to the facts in the
  application . The FISC judge makes the required probable cause determination                   basis of
   the facts submitted by the applicant .   1805( a ) ( 2 ) ( emphasis added ) ; see also 1804 (c ) ( a FISC
  judge “ may require the applicant to furnish such other information as may be necessary to make
  the determinations required by Section 1805) (emphasis added ) . Those statutory provisions
  reflect the reality that, in the first instance , it is the applicant agency that possesses information
  relevant to the probable cause determination , as well as the means to potentially acquire
  additional information .

          Notwithstandingthat the FISC assessesprobablecausebased on information provided by
 the applicant, “ Congress intendedthe pre- surveillancejudicialwarrantprocedure” underFISA,
 " and particularlythe judge' s probable cause findings, to providean externalcheck on executive
 branch decisionsto conductsurveillance   ” in order to protectthe fourth amendmentrightsof
  U . S. persons.      FISC' s assessmentof probable cause can serve thosepurposeseffectively
 only if the applicantagency fully and accurately providesinformation in its possession that is
 materialto whetherprobablecause exists. Accordingly, “ the government. . .        a heightened
 duty of candorto the FISC in ex parte proceedings   , ” that is, onesin which the government
 does not face an adverse party, such as proceedingson electronic surveillanceapplications . The
 FISC expects the governmentto comply with its heightenedduty of candor in ex parte
  proceedingsatalltimes. Candor is fundamentalto this Court' s effectiveoperation. . . .

         With thatbackground, the Court turns to how the governmenthandledthe four
  applications it submitted to conductelectronic surveillance ofMr. Page The FISC entertained
  those applicationsin October2016 and January, April, and June 2017. See OIG Reportatvi.

          On December9 , 2019, the governmentfiled with the FISC public and classified versions
 of the OIG Report The OIG Reportdescribes in detailthe preparationofthe fourapplications
 for electronic surveillanceofMr. Page. It documentstroublinginstancesin which FBIpersonnel
  providedinformation to NSD which was unsupported or contradictedby informationin their


 2 The application must also be approved by the Attorney General, Deputy Attorney General or upon
 designation , the Assistant Attorney General for National Security (who is the head of NSD ) based upon
 his finding that it satisfies the criteria and requirements ” of Title I of FISA . $ ( g) , 1804 (a ) .
 3 Docket No. [Redacted ] , Order and Mem . Op. issued on Apr . 3, 2007 , at 14 (footnotes and internal
 quotation marks omitted ), available at
 https: //repository . library georgetown. edu bitstream /handle/ 10822 /1052774 / gid c 00012.pdf? sequence =
   & isAllowed = y .
 4 Docket No. BR 14 -01, Op. and Order issued on Mar. 21, 2014 , at 8 , available at
 https: //repository. library. georgetown . edu /bitstream /handle /10822/ 1052715 / gid c 00098   ? sequences
   & isAllowed = y
            No. [Redacted ], Mem . Op. and Order issued on Nov. 6 , 2015, at 59 , available at
 https: //repository . library . georgetown . /bitstream /handle/ 10822/ 1052707/ gid c 00121.
  pdf? sequence=     & isAllowed = y:
 6 This Order cites the public version of the OIG Report.
Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 17 of 18 Page ID #:276




 possession . It also describes several instances in which FBI personnelwithheld from NSD
 information in their possession which was detrimental to their case for believing thatMr. Page
 was acting as an agent of a foreign power.

        In addition , while the fourth electronic surveillance application for Mr. Page was being
 prepared , an attorney in the FBI' s Office ofGeneral Counsel (OGC) engaged in conduct that
 apparently was intended to mislead the FBIagent who ultimately swore to the facts in that
 application about whether Mr. Page had been a source of another government agency . See id
 252- 56. The information about the OGC attorney ' s conduct in the OIG report is consistentwith
 classified submissions made to the FISC by the government on October 25, 2019, and November
 27, 2019. Because the conduct of the OGC attorney gave rise to serious concerns about the
  accuracy and completeness of the information provided to the FISC in any matter in which the
 OGC attorney was involved , the Court ordered the government on December 5 , 2019, to, among
 other things, provide certain information addressing those concerns.

           The FBI' s handling of the Carter Page applications , as portrayed in the OIG report, was
  antithetical to the heightened duty of candor described above . The frequency with which
 representations made by FBIpersonnel turned out to be unsupported or contradicted by
 information in their possession , and with which they withheld information detrimental to their
 case , calls into question whether information contained in other FBIapplications is reliable. The
 FISC expects the government to provide complete and accurate information in every filing with
 the Court . Without it , the FISC cannot properly ensure that the government conducts electronic
  surveillance for foreign intelligence purposes only when there is a sufficient factual basis

          THEREFORE , the Court ORDERS that the government shall, no later than January 10
  2020, inform the Court in a sworn written submission ofwhat it has done, and plans to do, to
  ensure that the statement of facts in each FBIapplication accurately and completely reflects


       OIG Report at 157-59, 365-66 in September 2016 , an FBIagent provided an NSD attorney with
 information about the timing ofMr. Page ' s source relationship with another government agency and its
 relevance to the FISA proffer that was contradicted by a memorandum received from the other agency in
 August 2016 ) ; id     160-62, 364, 367 (FBIpersonnel exaggerated the extent to which Christopher
 Steele' s reporting had been corroborated and falsely represented that ithad been used in criminal
 proceedings) .

  See, e.g ., id        - 90, 368 -70 (statements made by Mr. Steele ' s primary sub -source that undermined
 Mr. Steele ' s reporting) ; id . at 168-69, 364 , 366 -67 ( statements made by Mr. Page to an FBIsource in
 August 2016 that he had never met or spoken with PaulManafort and thatMr.Manafort did not return his
  emails were first provided to NSD in June 2017             four applications included reporting thatMr.
 Manafort used Mr. Pageas an intermediary with Russia butdid not include those statements by Mr.
 Page) ; id at vii, 170- 71, 364-65, 367 ( statements made by Mr. Page to an FBIsource in October 2016
 that he had never metwith IgorSechin or IgorDivyekin were first provided to NSD in January 2017;
 four applications included reporting thathemet with bothmen in Russia in July 2016 and discussed
 lifting sanctions against Russia with the former and receiving derogatory information about Hillary
 Clinton with the latter, but did not include the denials by Mr. Page). Moreover all four applications
 omitted statements made by Mr. Steele in October 2016 that detracted from the reliability of another of
 his sub-sources whose reportingwas included in the applications even though the FBIprovided a
 document to an NSD attorney that included those statements prior to the submission of the first
 application . See id. at 163-64, 364- 65, 367.
Case 8:19-cr-00117-JAK Document 57 Filed 01/13/20 Page 18 of 18 Page ID #:277




  information possessed by the FBI that is material to any issue presented by the application . In
  the event that the FBI at the time of that submission is not yet able to perform any of the planned
  steps described in the submission , it shall also include ( a ) a proposed timetable for implementing
  such measures and (b ) an explanation of why , in the government s view , the information in FBI
  applications submitted in the interim   should be regarded as reliable .

         IT IS FURTHERORDERED, pursuantto FISC Rule of Procedure62(a ), that the
  governmentshall, no later than December20 2019, complete a declassificationreview ofthe
  above-referencedorder of December5, 2019, in anticipation of the FISC' s publishingthat order.
   In view of the information releasedto the public in the        Report, the Courtexpectsthat such
  review will entailminimalif any redactions.




  SO ORDERED




         Entered this 17th day of December, 2019.




                                                        ROSEMARY . COLLYER
                                                                             M
                                                        Presiding Judge, United       Foreign
                                                        Intelligence Surveillance Court
